Case 8:24-cv-01248-KKM-AAS Document 116-2 Filed 11/01/24 Page 1 of 3 PagelD 800

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION

MSR MEDIA SKN LTD., MSR
HOTELS & CO. LTD. MSR

MEDIA INTERNATIONAL LLC, CASE NO.: 8:24-cv-01248-
and PHILIPPE MARTINEZ, KKM-AAS

Plaintiffs,
VS.

LESLIE KHAN, CARIBBEAN

GALAXY REAL ESTATE CORP.
CARIBBEAN GALAXY REAL ESTATE
LTD., YING JIN, TIMOTHY HARRIS,
DENZIL DOUGLAS, CARIB TRUST LTD.,
FARON LAWRENCE, ST. KITTS-NEVIS-
ANGUILLA NATIONAL BANK LTD.,
and MC CLAUDE EMMANUEL,

Defendants.

i

DECLARATION OF TIMOTHY HARRIS IN SUPPORT OF HARRIS’
MOTION TO DISMISS

I, TIMOTHY HARRIS, declare as follows in lieu of an affidavit as permitted by 28
U.S.C. § 1746:

cs lam over eighteen years of age and of sound mind. I submit this
declaration in support of my Motion to Dismiss. ] have personal knowledge of

the facts below and could testify to them if called as a witness.
Case 8:24-cv-01248-KKM-AAS Document 116-2 Filed 11/01/24 Page 2 of 3 PagelD 801

2 Iam a citizen and resident of St. Kitts and Nevis, an island nation in
the Caribbean. St. Kitts and Nevis is an independent sovereign state, member of

the British Commonwealth and operates under a Parliamentary System of
f ;

Government.

3: I do not, and have never, maintained bank accounts in the United
States.

4. | served as the Prime Minister of St. Kitts and Nevis from 2015 to

August 2022. As Prime Minister, I served as the Chair of the Cabinet of Ministers
and held substantial executive authority.

a: As Prime Minister, I lacked any authority to initiate prosecutions.
That authority rests in the sole discretion of the Director of Public Prosecution.

6. St. Kitts and Nevis operates a Citizenship by Investment (“CBI”)
program, through which the country grants citizenship and a passport to
qualifying applicants who invest in the country.

i. The Cabinet has ultimate authority over the operations of the CBI
program. The Cabinet must approve all allocations of CBI shares to every
approved developer.

8. The CBI program gets very little attention from American investors
and has attracted only a few American citizens since its inception in 1984. An

American passport provides entry to nearly every country in the world and its
Case 8:24-cv-01248-KKM-AAS Document 116-2 Filed 11/01/24 Page 3 of 3 PagelD 802

residents enjoy a democratic government and the rule of law that is enforced and
respected. Americans get no major benefit in securing a citizenship in St. Kitts
and Nevis, which is attractive for its widely recognized passport, democratic
government, and judicial system. Consequently, we do not actively promote the
CBI program to investors in the United States. The primary markets for the
program are China, the Middle East, and Nigeria.

I declare under penalty of perjury under the laws of the United States of

America that the foregoing is true and correct.

5 Sth
Executed on this BO day of October, 2024 —
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f [AA My ie A)
/ Y ff

TIMOTHY HARRIS

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